Case:17-03283-LTS Doc#:2880 Filed:04/10/18 Entered:04/10/18 16:03:36                 Desc: Main
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                       IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF PUERTO RICO




     In re:                                                 PROMESA
                                                            Title III
     THE FINANCIAL OVERSIGHT AND
     MANAGEMENT BOARD FOR PUERTO RICO,                      NO. 17-BK-03283 (LTS)

                      as representative of                  (Jointly Administered)

     COMMONWEALTH OF PUERTO RICO, et al.,

                          Debtors. 1



                                 CERTIFICATE OF SERVICE


          I HEREBY certify that, on April 10th, 2018, on behalf of the Ad Hoc Group of General

 Bondholders, I served stamped copies of the Motion to Compel Compliance with February 26, 2018

 Order and for Entry of a Protective Order of Ad Hoc Group of General Obligation Bondholders,

 AMBAC Assurance Corporation, Assured Guaranty Corp., Assured Guaranty Municipal Corp., the




 1
  The Debtors in the underlying Title III Case, along with each Debtor’s respective Title III
 case number listed as bankruptcy case number due to software limitations and the last four (4)
 digits of each Debtor’s federal tax identification number, as applicable, are the (i)
 Commonwealth of Puerto Rico (Bankruptcy Case No. 17 BK 3283-LTS) (Last Four Digits of
 Federal Tax ID: 3481); (ii) Puerto Rico Sales Tax Financing Corporation (“COFINA”)
 (Bankruptcy Case No. 17 BK 3284-LTS) (Last Four Digits of Federal Tax ID: 8474); (iii) Puerto
 Rico Highways and Transportation Authority (“HTA”) (Bankruptcy Case No. 17 BK 3567-LTS)
 (Last Four Digits of Federal Tax ID: 3808); (iv) Employees Retirement System of the
 Government of the Commonwealth of Puerto Rico (“ERS”) (Bankruptcy Case No. 17 BK
 3566-LTS). (Last Four Digits of Federal Tax ID: 9686); and (v) Puerto Rico Electric Power
 Authority (“PREPA”) (Bankruptcy Case No. 17 BK 4780-LTS) (Last Four Digits of Federal Tax
 ID: 3747). (Title III case numbers are listed as Bankruptcy Case numbers due to software
 limitations).
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 Mutual Fund Group, and National Public Finance Guarantee Corporation (Docket # 2865) on the

 following parties:

     •   The Chambers of the Honorable Laura Taylor Swain, by U.S. mail at the following address:

         United States District Court for the Southern District of New York, Daniel Patrick Moynihan

         United States Courthouse, 500 Pearl St., Suite No. 3212, New York, New York 10007-1312;

     •   The Chambers of the Honorable Magistrate Judge Judith Dein, by U.S. mail at the following

         address: United States District Court for the District of Massachusetts, United States District

         Court, One Courthouse Way, Suite 6420, Boston MA 02210;

     •   Office of the United States Trustee for Region 21, by U.S. mail at the following address:

         Edificio Ochoa, 500 Tanca Street, Suite 301, San Juan, PR 00901-1922;

     •   All interested parties in the above-captioned case that have appeared through the Court’s

         CM/ECF system, through said system, including but not limited to the Standard Parties, as

         defined in the Third Amended Case Management Procedures (Docket #1512-1; Case No. 17-

         03283], for whom service is allowed in this manner.

     •   All parties listed in the Master Service List as of December 26, 2017, (Docket No. 2179, Case

         No. 17-03283) for which an e-mail address has not been provided, by U.S. mail. All other

         parties in the Master Service List as of December 26, 2017, (Docket No. 2179, Case No. 17-

         03283), for which an e-mail address was provided, by e-mail.


 RESPECTFULLY SUBMITTED.

         I HEREBY CERTIFY that I electronically filed the foregoing with the Clerk of the Court

 using the CM/ECF system, which will notify case participants.
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 Dated: San Juan, Puerto Rico
        April 10th, 2018


                                          /s/ J. Ramón Rivera Morales
                                          J. Ramón Rivera Morales
                                          USDC-PR Bar No. 200701
                                          Andrés F. Picó Ramírez
                                          USCD-PR Bar No. 302114
                                          Jiménez, Graffam & Lausell
                                          PO Box 366104
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